Case 1:13-cr-00006-MAC-ZJH           Document 147         Filed 11/12/13      Page 1 of 5 PageID #:
                                            683



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §
 VS.                                              §            CASE NO. 1:13-CR-6
                                                  §
                                                  §
 DONALD ARTHUR VAUGHN                             §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On November 8, 2013, this case came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by the Defendant, Donald Arthur Vaughn, to Counts One and Ten of the

 Indictment. Count One of the Indictment alleges that on or about August 22, 2011, and ending on

 or about January 10, 2012, the Defendant and others known and unknown to the Grand Jury, devised

 a scheme and artifice to defraud BBVA Compass Bank and Community Bank of Texas, federally

 insured depository institutions under § 3(c)(2) of the Federal Deposit Insurance Act, and Mobiloil

 Federal Credit Union and Eastex Federal Credit Union, credit unions with accounts insured by the

 National Credit Union Share Insurance Fund, and to obtain money, funds, credits, and assets under

 the custody or control of said federally insured depository institutions and credit unions by means



                                                  -1-
Case 1:13-cr-00006-MAC-ZJH            Document 147        Filed 11/12/13       Page 2 of 5 PageID #:
                                             684



 of materially false and fraudulent representations, all in violation of Title 18, United States Code,

 Sections 1344 and 2.

        Count Ten alleges that from on or about August 1, 2011 through on or about January 10,

 2012, in the Eastern District of Texas, Donald Arthur Vaughn and a co-defendant, did knowingly

 possess and use, without lawful authority, a means of identification of another person, specifically,

 the name, date of birth, address, and Texas driver’s license number of C.F. Mortimer during an in

 relation to an unlawful activity that consitutes a violation of federal law, to wit, Bank Fraud under

 18 U.S.C. § 1344, all in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

        The Defendant, Donald Arthur Vaughn, entered a plea of guilty to Counts One and Ten of

 the Indictment into the record at the hearing. After conducting the proceeding in the form and

 manner prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

        a.      That the Defendant, after consultation with his attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. The Defendant

 verified that he understood the terms of the plea agreement, agreed to the Government’s summary

 of the plea agreement, and acknowledged that it was his signature on the plea agreement. To the

 extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM. P. 11

 (c)(1)(B), the court advised the Defendant that he has no right to withdraw the plea if the Court does

 not follow the particular recommendations or requests. To the extent that any or all of the terms of



                                                  -2-
Case 1:13-cr-00006-MAC-ZJH                     Document 147              Filed 11/12/13            Page 3 of 5 PageID #:
                                                      685



 the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the Defendant

 that he will have the opportunity to withdraw his plea of guilty should the Court not follow those

 particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that

 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

          d.        That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 his conduct falls within the definition of the crimes charged under 18 U.S.C. §§§ 1324, 1028A and

 2.

                                           STATEMENT OF REASONS

          As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Donald Arthur


          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

                                                               -3-
Case 1:13-cr-00006-MAC-ZJH             Document 147         Filed 11/12/13       Page 4 of 5 PageID #:
                                              686



 Vaughn, is one and the same person charged in the Indictment and that the events described in the

 Indictment occurred in the Eastern District of Texas and elsewhere. The Government would also

 have proven, beyond a reasonable doubt, each and every essential element of the offense as alleged

 in Counts One and Ten of the Indictment through the testimony of witnesses, including expert

 witnesses, and admissible exhibits. In support of the Defendant’s plea, the undersigned incorporates

 the proffer of evidence described in detail in the factual basis and stipulation, and the representations

 made by counsel for the Government at the hearing.

         The Defendant, Donald Arthur Vaughn, agreed with and stipulated to the evidence presented

 in the factual basis and agreed to the Government’s proffer. Counsel for the Defendant and the

 Government attested to the Defendant’s competency and capability to enter an informed plea of

 guilty. The Defendant agreed with the evidence presented by the Government and personally

 testified that he was entering his guilty plea knowingly, freely and voluntarily.

                                 RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Counts One and Ten of the Indictment. Accordingly, it is further

 recommended that the Defendant be finally adjudged guilty of the charged offenses under Title 18,

 United States Code, Sections 1344, 1028A, and 2, and the District Court should accept the plea

 agreement.

         The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.


                                                   -4-
Case 1:13-cr-00006-MAC-ZJH           Document 147          Filed 11/12/13     Page 5 of 5 PageID #:
                                            687



                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of his

 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



        SIGNED this 12th day of November, 2013.




                                                        _________________________
                                                        Zack Hawthorn
                                                        United States Magistrate Judge




                                                  -5-
